Case 1:07-cv-00960-CMH-JFA Document 1001-1 Filed 05/05/23 Page 1 of 13 PageID# 33360
Case 1:07-cv-00960-CMH-JFA Document 1001-1 Filed 05/05/23 Page 2 of 13 PageID# 33361
Case 1:07-cv-00960-CMH-JFA Document 1001-1 Filed 05/05/23 Page 3 of 13 PageID# 33362
Case 1:07-cv-00960-CMH-JFA Document 1001-1 Filed 05/05/23 Page 4 of 13 PageID# 33363
Case 1:07-cv-00960-CMH-JFA Document 1001-1 Filed 05/05/23 Page 5 of 13 PageID# 33364
Case 1:07-cv-00960-CMH-JFA Document 1001-1 Filed 05/05/23 Page 6 of 13 PageID# 33365
Case 1:07-cv-00960-CMH-JFA Document 1001-1 Filed 05/05/23 Page 7 of 13 PageID# 33366
Case 1:07-cv-00960-CMH-JFA Document 1001-1 Filed 05/05/23 Page 8 of 13 PageID# 33367
Case 1:07-cv-00960-CMH-JFA Document 1001-1 Filed 05/05/23 Page 9 of 13 PageID# 33368
Case 1:07-cv-00960-CMH-JFA Document 1001-1 Filed 05/05/23 Page 10 of 13 PageID#
                                   33369
Case 1:07-cv-00960-CMH-JFA Document 1001-1 Filed 05/05/23 Page 11 of 13 PageID#
                                   33370


  IN WITNESS WHEREOF, this Settlement Agreement has been executed by the Parties,

  THE UN~~/A-jTES OF AMERICA

        /   J~ D. ~VI~JORS/~~
        ¢   ~vil Division!
            United States Oepa~ment of Justice

  Date {~           /’ ~


            NElL H. MACBRIDE


  By.
            GERARD MENE
            Assistant U.S, Attorney
            U.S, Attorney’s Office for the
            Eastern District of Virginia


  THE UNITED STATES DEPARTMENT OF EDUCATION

  By.
            JAMES RUNCIE .’
            Deputy Chief Operating Officer
            Federal Student Aid
            U.S. Department of Education

  Date




                                                             SETTLEMENT AGREEMENT
                                                                      PAGE 10 OF 13
Case 1:07-cv-00960-CMH-JFA Document 1001-1 Filed 05/05/23 Page 12 of 13 PageID#
                                   33371
Case 1:07-cv-00960-CMH-JFA Document 1001-1 Filed 05/05/23 Page 13 of 13 PageID#
                                   33372
